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                     THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


   DEBORAH D. PETERSON                    :
   PERSONAL REPRESENTATIVE                :
   OF THE ESTATE OF JAMES C.              :
   KNIPPLE (DECEASED), ET AL.,            :
                                          :
            Plaintiffs,                   :   Consolidated Civil
                                          :   01-2094 (RCL)
   v.                                     :   01-2684 (RCL)
                                          :   Hon. Royce C. Lamberth
   ISLAMIC REPUBLIC OF IRAN,              :
   ET AL.,                                :
                                          :
            Defendants.                   :




           MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
           ORDER AFFIRMING A COMMON LAW EQUITABLE
           LIEN OVER THE PLAINTIFFS’ ATTORNEYS’ 1/3 SHARE
           OF THE RECOVERY AND FOR SEQUESTRATION OF
           THE DISPUTED PORTION




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                                INTRODUCTION

       David J. Cook and Cook Collection Attorneys, P.L.C. (collectively

“Cook” ) were retained by a written retainer agreement (the “Cook Retainer”)

signed by Lead Plaintiffs’ attorneys Stephen Perles (“Perles”) and Thomas

Fortune Fay (“Fay”), on behalf of themselves and Lead Plaintiffs’ Attorneys

Anthony J. LaSpada and Allen L. Rothenberg (“LaSpada” and “Rothenberg” and

collectively with Fay and Perles the “Litigation Attorneys”) to enforce this

Court’s $2.65 Billion judgment against the Islamic Republic of Iran. Declaration

of David J. Cook (“Cook Dec.”), Exhibit 1.

       Pursuant to the Cook Retainer, Cook successfully identified and restrained

nearly $1.9 Billion of assets in the Southern District of New York fashioned

Peterson v. Islamic Republic of Iran, No. 10-civ-4518 (KBF) (S.D.N.Y.) (the

“SDNY Action”), which were recovered and turned over to a Trust for the benefit

of Plaintiffs (the “QSF Trust”). After the turnover ruling was affirmed by the

United States Supreme Court, Cook filed in this Court and then served upon the

Trustee for the QSF Trust a notice of lien.

       Cook’s lien was quashed by this Court on December 6, 2016, because the

Court held that the Cook Retainer could not be read to impose an obligation on

the Plaintiffs to pay Cook’s fee, but instead the agreement was between Cook and

Fay and Perles. Peterson v. Islamic Republic of Iran, 220 F. Supp. 3d 98, 109

(D.D.C. 2016).




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        On appeal, the Court of Appeals upheld this Court’s ruling, but read it

narrowly so as not to preclude this Court from granting Cook equitable relief, in

the nature of sequestration or an other similar remedy, to secure Cook’s interest in

the funds currently held by the QSF Trust that are distributable to the Litigation

Attorneys. 1 The Circuit held:


        We do not, however, understand the district court to have decided
        whether to release directly to Fay & Perles the lawyers' third of the
        QSF—i.e. the portion of the judgment set aside to compensate Fay
        & Perles and anybody to whom they promised a share in exchange
        for work done for Plaintiffs. Affirmance that Glenn and Cook have
        no attorney's charging liens against the portion of the judgment
        flowing to Plaintiffs simply does not address whether their
        claims are secured vis-à-vis Fay & Perles. Fay & Perles inform
        us that they enlisted a "small army" of lawyers to labor on
        Plaintiffs' behalf, and that those lawyers signed on with the
        expectation that, if and when Plaintiffs' claims succeeded, they
        would be paid out of Fay & Perles's portion of the judgment. See
        Oral Arg. Rec. at 15:15-15:30. Lead litigation counsel [John
        Vail] stated at oral argument that they have an "ethical duty . .
        . to sequester contested funds that are in their possession" until
        such disputes are resolved. Id. at 37:45-38:00.

        Perhaps the district court has equitable authority to backstop those
        assurances. Principles of equity in the District of Columbia may
        well recognize some or all of the other lawyers' rights to
        security in judgment proceeds flowing to Fay & Perles. We do

1
  In a letter dated April 2, 2018 to Judge Forrest in the SDNY Action (SDNY ECF 916),
counsel for the QSF Trustee informed the Court that 99% of initial distributions have
been made to the Peterson Plaintiffs noting that the initial distributions constitute
approximately 93% of the total amounts that will be available for payment to the
Plaintiffs. The letter makes clear that the issues regarding the remaining distributions to
the Plaintiffs are unrelated to the attorney fee claims. (Declaration of Eric D. Miller
[“Miller Dec.”] Exhibit 1). At a hearing held before the Honorable Stephen J. Crane,
(N.Y Sup. Ret.) in Cook v. Fay, JAMS REF. NO. 1100084466 (the Arbitration where
Cook is seeking to recover his contractual fee right), the Litigation Attorneys stipulated
that they would be solely responsible for payment of any award due Cook under his
contract. On that basis, Cook dismissed the Plaintiffs with prejudice. (Miller Dec. ¶ 4,
Exhibit 2)




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       not understand the district court to have broadly foreclosed any and
       all equitable grounds on which Glenn's and Cook's claims—or,
       indeed, those of any other lawyers similarly situated—might be
       secured pending resolution of their merits. We need not and do
       not address any equitable claim beyond the assertion of an
       attorney's charging lien against claims set to be distributed to
       Plaintiffs themselves. The district court may, in its judgment,
       determine whether and how to address any such issue that
       remains. [Emphasis Added]

Peterson v. Islamic Republic of Iran, 2018 U.S. App. LEXIS 4143 *20-21; see,

also, D.C.C. Oral Argument Transcript, Miller Dec., Exhibit 3, p. 37:45-38:00.

       This application is made following that implication by the Circuit, to

obtain the equitable relief suggested.         The Litigation Attorneys have made

indisputably clear that such relief is needed. After Mr. Vail represented at Oral

Argument that the attorneys have “an ethical duty to sequester the disputed funds”

he subsequently reversed himself.

        Shortly after the Circuit issued its opinion, Counsel for Cook wrote Mr.

Vail and the other attorneys who represent the Lead Attorneys for the Plaintiffs a

letter dated February 23, 2018 requesting verification that the attorneys had in fact

sequestered the disputed amount of the fees from the $250 million in fees that had

been distributed to them by the QSF Trustee in 2016 2 and requesting assurances

that any shortfall would be sequestered from future distributions. (Miller Dec.,

Exhibit 5)

       In his response letter dated February 26, 2016, (Miller Dec., Exhibit 6),

Mr. Vail, (on behalf of Fay) declined to provide any assurances stating “Cook has

2
  In a letter dated January 13, 2017 (SDNY ECF 704) counsel for the QSF Trustee
informed Judge Forrest that $250 Million of the attorneys’ share had been distributed on
November 24, 2016. (Miller Dec., Exhibit 4)




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no interest in the funds in the QSF and/or no entitlement to have them

sequestered.”

       The Cook Retainer expressly provides that Cook’s contingent fee is to be

paid directly from the recovery. Further, well established common law equitable

principles also support finding that Cook’s fees should be secured by the

attorneys’ share of the funds recovered as a result of his efforts. Moreover, D.C.

Rules of Professional Conduct, Rule 1.15(d) requires the Litigation Attorneys to

sequester the funds disputed by Cook, further providing Cook with a beneficial

interest in those funds.

       For all of these reasons, Cook requests a determination that Cook has an

equitable lien over the Litigation Attorneys’ share of the funds recovered on the

judgment. To enforce the lien, Cook requests that pursuant to FRCP Rule 64 the

Court compel the Litigation Attorneys to sequester the amount in dispute, $127.5

million, from their share of fees to be distributed by the QSF Trustee to assure

compliance with D.C. Rules of Professional Conduct Rule 1:15 (a), (b), and (d)

and “backstop” Mr. Vail’s representation until the entitlement and amount of

Cook’s fee are determined in the Arbitration proceeding 3

                                JURISDICTION

       In its Memorandum Opinion dated December 6, 2016 (ECF 565), this

Court recognized its “continuing jurisdictional basis premised upon this Court’s


3
  The factual phase of the Arbitration was completed in December 2017 and all post
hearing briefs have been submitted. A final award is due on or before June 20, 2018.
(Miller Dec, ¶ 13)




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inherent power to affect the distribution of judgment proceeds.” Martens v.

Hadley Memorial Hosp. 753 F. sup. 371 (D.D.C. 1990) (citing Freidman v.

Harris 158 F.2d 187 (D.C. Cir. 1946); accord, Continental Casualty Co. v. Kelly .

106 F. 2d 841 (D.C. Cir. 1939) In its February 16, 2018 Judgment and

Memorandum, the Court of Appeals suggested that this Court retained equitable

powers to backstop the assurances of the Litigation Attorneys that the disputed

funds would be sequestered.

                          FACTUAL BACKGROUND

       On March 5, 2008, Cook entered into the Cook Retainer with the

Litigation Attorneys to assist in the collection of a default judgment in the amount

of $2.65 Billion entered by this Court on September 9, 2007. Cook Dec., Exhibit

1. The Retainer Agreement expressly provided for a contingent fee payable out of

the funds recovered as follows:

   •   “The Collection Service [Cook] shall charge a contingency fee of 10% of
       on any net recovery as received” p. 4

   •   “the Collection Service [Cook] shall bear all expenses…[t]o the extent of
       recovery by the Collection Service, the recovery shall first be subject to
       reimbursement of costs and expenses, and thereafter, subject to the fees
       due the Collection Service [Cook] p.3

   •   “The Collection Service [Cook] shall bear their own airfare, travel
       connections, Federal Express and related charges, in the prosecution of
       this matter: however, such reasonable charges shall be considered a cost,
       which will be re-paid to the Collection Service [Cook] from any recovery
       achieved herein.” P. 5,6

   •   “In the event of collection, the funds shall be remitted to a joint escrow
       account from which the contracting parties will disburse funds as they
       deem fit, however, the Collection Service [Cook] shall be able to duct
       their fees and expenses before remitting the funds to Litigation Counsel”




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       p. 5


       Based upon the record before this Court it cannot reasonably be disputed

that Cook was the source of the funds recovered on the judgment. 4 On March 10,

2008, Cook issued a subpoena to the Office of Foreign Asset Control (“OFAC”)

seeking the identity of any accounts in the United States in which Bank Markazi,

the central bank of Iran held a beneficial interest. (Cook Dec., ¶ 6, Exhibit 2) In

response to the subpoena, OFAC filed a motion for an emergency motion for

protective order with this Court on June 11, 2008 (D.C. ECF 325) The protective

order was issued the same day.

       Pursuant to the protective order, OFAC disclosed to Cook the existence of

bonds in the amount of approximately $2.25 billion held in an account at Citibank

in New York in the name of Clearstream Banking, S.A., (“Clearstream”). Within

48 hours of receiving the information from OFAC, Cook retained New York

counsel in New York, Salon Marrow Dyckman Newman & Broady, LLP

(“SMD”) to obtain a Writ of Execution and have it served by the U.S. Marshal on

Citibank which effectively restrained the assets. Within days thereafter, additional

restraining orders were served pursuant to New York post-judgment remedies.

Cook Dec. ¶¶ 6, 7.

       Ultimately, on July 9, 2013, Judge Forrest ordered $1.89 billion in

restrained assets at Citibank transferred to a QSF Trust for the benefit of the


4
  In Cook’s Opposition to Motion to Quash dated 6/16/16, Cook submitted an unopposed
declaration (D.C. ECF 543-3) establishing that he was the source of the $1.9 Billion
recovered on the judgment.




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Peterson Plaintiffs, their attorneys and other creditors who had contributed to the

effort. (SDNY ECF 462; Miller Dec., Exhibit 7).

        On December 4, 2017, a special master appointed by Judge Forrest to

oversee the disputes over distribution of the QSF Trust fund filed a Report and

Recommendation finding that Cook had no lien right under New York law and no

right to intervene and that the Trustee should be authorized to distribute the

remainder of the Litigation Attorneys’ share of the funds. (SDNY ECF 869) Cook

filed Objections on Constitutional and other grounds. No ruling on the Report

and Recommendation has been issued. 5

        The factual phase of the Arbitration between Cook and the Litigation

Attorneys ended on December 11, 2017. On the last day of the Arbitration, the

Litigation Attorneys stipulated on the record that they would be responsible for

any arbitration award. 6 On that basis, Cook dismissed with prejudice the Peterson

Plaintiffs. (Miller Dec., ¶ 4, Exhibit 2)

        On January 12, 2018, Cook submitted an application to the Arbitrator

requesting an interim award ordering that the amount in dispute be escrowed

pursuant to Paragraph 9 of the Cook Retainer which provides that “[I]n the event

of any collection the funds shall be remitted to a joint escrow account.” The

Arbitrator denied the application without addressing the escrow clause of the

5
   On April 4, 2018 Steve Perles filed a motion in the SDNY Action for prompt
distribution of the remaining funds for attorneys’ fees. (SDNY ECF 919; Miller Dec.,
Exhibit 8) Mr. Perles’ declaration lists all of the lawyers that have been paid and will be
paid directly from the QSF Trust fund.
6
  Rothenberg entered into the Stipulation subject to his defense that he is not bound by
the Retainer Agreement but if the Arbitrator determines that he is, he and not the
Plaintiffs would be a responsible party for payment of the award.




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Retainer Agreement. (Miller Dec., Exhibit 9, Arbitrator’s January 31, 2018 Order

No. 15.) The Order stated that most pertinent among the reasons for the denial of

the application was that Cook was attempting similar relief in the SDNY Action

and in this Court and that if the Arbitrator were to grant the relief requested it

would promote forum shopping. 7 The Arbitrator pointed to the fact that the

parties were in the midst of preparing post-hearing briefs and that he had made no

determination on the merits of the matter. (Miller Dec., Exhibit 9, p. 3)

       On February 16, 2018, the Court of Appeals for the District of Columbia

Circuit issued a judgment affirming this Court’s Order quashing Cook’s Charging

Lien as against the Peterson Plaintiffs on the ground that only the Litigation

Attorneys were parties to the Cook Retainer Agreement. Yet, the DCC expressed

its view that this Court might consider exercising its equitable powers over the

Litigation Attorneys one-third share of the recovered funds to “backstop” the

assurances of Mr. Vail that the Litigation Attorneys had an ethical obligation to

sequester the funds.

       The Cook Retainer provides for a fee of 10% of the total amount

recovered. Based on the $1.89 billion recovery his 10% fee is $189 million

subject to offsets to be determined by the Arbitrator. The only offset that is not in

dispute is the 3.25% fee Cook agreed to pay SMD (Cook Dec., ¶ 1), who is being

paid by the QSF Trustee. (Miller Dec., Exhibit 7) Accordingly, Cooks’ maximum

recovery is 6.75% of the $1.89 billion recovery, $127.5 million. (Cook Dec., ¶


7
 Cook made an earlier application seeking to restrain the funds in dispute which was
denied.




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10) This is the amount in dispute subject to Cook’s common law equitable lien

that should be sequestered by the Litigation Attorneys pending the final

arbitration award.

       Mr. Vail’s representation at Oral Argument of the attorneys’ “ethical duty

to sequester funds” is essentially a restatement of the requirement under D.C.

Rules of Professional Conduct, Rule 1.15(d) which provides as follows:

               (d) When in the course of representation a lawyer is in
               possession of property in which interests are claimed by the
               lawyer and another person, or by two or more persons to
               each of whom the lawyer may have an obligation, the
               property shall be kept separate by the lawyer until there is
               an accounting and severance of interests in the property. If
               a dispute arises concerning the respective interests among
               persons claiming an interest in such property, the
               undisputed portion shall be distributed and the portion in
               dispute shall be kept separate by the lawyer until the
               dispute is resolved. Any funds in dispute shall be deposited
               in a separate account meeting the requirements of
               paragraph (a) and (b).

       (D.C. Rules of Professional Conduct, Rule 1.15, Miller Dec.,
       Exhibit 10)

       The QSF Trustee is currently holding $300,349,487.74 designated for the

balance to be paid to the attorneys, but this does not include Cook. (SDNY ECF

919, Miller Dec. Exhibit 7) Of this amount the Litigation Attorneys will receive

$207,715,611 to $242,325,527. Id.

                                 ARGUMENT

       A.      Cook’s Retainer Agreement with the Litigation Attorneys
               Providing for his Contingent Fee to be Paid From the
               Funds Recovered Establishes a Common Law Equitable
               Lien over the Attorneys’ Share

       In affirming this Court’s decision, the Court of Appeals found that




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“neither Glenn nor Cook has equitable grounds unilaterally to hold up full

distribution to Plaintiffs as a means of obtaining leverage for this own fees and

costs against Fay and Perles” Peterson v. Islamic Republic of Iran, 2018 U.S.

App. LEXIS 4143 *20-21, p.5 but went on to state: “Affirmance that Glenn and

Cook have no attorney’s charging liens against the portion of the judgment

flowing to Plaintiffs simply does not address whether their claim are secured vis-a

vis Fay and Perles.” Peterson v. Islamic Republic of Iran, 2018 U.S. App. LEXIS

4143 *20-21 p. 6.

       A reading of Elam v. Monarch Life Ins. Co. 598 A. 2d 1167 (1991) in this

context confirms that under D.C. law, in contingent fee agreements between

attorneys a common law equitable lien is created where “it is reasonable to infer

from the contingent agreement that the parties looked to the fund recovered as the

source of the attorney’s payment.” pp. 1170, 1171 While Elam stated that it was

indispensable that “there exist between the client and an attorney an agreement”

that was because the client was a contracting party and the lien claim was against

the clients’ funds.   See also, Pink v. Farmington 92 F.2d 465 (1937) [client

contracting party and the lien claim against the clients’ funds]; Democratic Cent.

Comm. of D.C. v. Washington Metro. Area Transit Comm’n 941 F. 2d 1217,1220

(D.C. Cir 1991) [agreement with client indispensable where attorney seeking to

recover on unsegregated funds which the client presumably had an interest in].

Here, the facts are distinguishable because all parties are in agreement that the

security is not against the clients’ share of the funds and is limited to the

attorneys’ share.




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       The common law is based on a “settled principle of equity that every

express executory agreement in writing, whereby the contracting party

sufficiently indicates an intention to make some particular property or fund a

security for a debt or other obligation, creates an equitable lien on the property so

indicated.” De Winter v. Thomas 34 App. D.C. 80, 84 (1909). Contingent fee

sharing agreements between attorneys should be treated no differently than any

other creditors and debtors. Wolf v. Sherman 682 A.2d 194,198 (D.C. 1996) [In

considering equitable and express liens, attorneys and clients should be no

different from any other creditors and debtors] “The trend of the modern

decisions… is to protect the right of the attorney to receive compensation for his

services” Id. at p. 201

       This settled principle of equity was followed by Justice Holmes in Barnes

v. Alexander 232 U.S. 117 (1914) cited by Elam v. Monarch Life. There, the

client promised his attorney one-fourth of any recovery. The attorney retained two

other attorneys and promised them “one third of the fee which I have coming to

me on a contingent fee from the [client].” Justice Holmes found that the sharing

agreement between the attorneys was sufficient to create an equitable lien against

the first attorney’s one-fourth recovery. There was no suggestion in the opinion

that the client was aware of the sharing agreement between the attorneys.

       Here, this Court has determined that this was a contract between the

attorneys and it cannot reasonably be disputed that the 10% contingent fee was be

paid from the funds recovered. Accordingly, this Court should determine that a

common law equitable lien over the Litigation Attorneys’ share of the recovery




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existed at least as of July 9 2013, the date Judge Forrest ordered the $1.9 billion

recovery transferred to the QSF Trust for the benefit of the Plaintiffs and the

attorneys.

       B.      The Court Should Order the Litigation Attorneys to Sequester
               the Disputed Funds.


       FRCP Rule 64 provides the District Courts with authority to use all

available state remedies, including sequestration under District of Columbia

Superior Court Rule 64(5), to secure the satisfaction of the potential judgment.

       After volunteering at Oral Argument that the attorneys have “an ethical

duty …to sequester funds in their possession” (Oral Argument, Miller Dec.,

Exhibit 3, p. 37:15-18) in an attempt to fend off questioning why no equitable lien

should attach to the attorneys’ share of the funds, Mr. Vail completely reversed

his position in his letter of February 26, 2018 claiming that Fay and the other

Litigation Attorneys had no such duty to sequester the disputed Cook funds in

their possession. The conflicting positions cannot be reconciled.

       Mr. Vail appears to argue D.C. Rules of Professional Conduct Rule 1:15

(a), (b), and (d) do not apply to the Cook disputed claim against the attorneys’

share because the “the justness of [Cook’s] claim, and particularly its magnitude

[is] suspect” citing D.C. Bar Legal Ethics Committee Opinion 293. To the extent

that Mr. Vail reads the opinion as requiring an evaluation of the merits of Cook’s

claim, that reading is inconsistent with settled law. A lien acts as security for a

debt, and its existence and validity are distinct from the merits of the debt itself.

See, Wolf v. Sherman 682 A. 2d.194, 197 (D.C. 1996).




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       Rule 1.15(d) requires sequestration when a “lawyer is in possession of

property in which interests are claimed by the lawyer and another person, or by

two or more persons to each of whom the lawyer may have an obligation.”

Comments [7] and [8] provide explanation where the client is claiming part of the

disputed fee or where the client may be attempting to interfere with a third-party

claim. Those explanations have no relevance here because the clients have been

paid and the claim is solely against the attorneys’ shares of the recovery.

       Moreover, Mr. Vail misreads the Ethics Opinion. D.C. Bar Legal Ethics

Committee Opinion 293 addresses “just claim” issues where the funds are subject

to conflicting claims by both the client and a third party (or parties). Here, all

parties are in agreement that the client has no interest in the disputed funds and

that the Litigation Attorneys agreed that Cook’s contingent fee would be paid

from their share.

       Where an attorney contracts for a contingent fee payable out of the fund

recovered, an equitable lien attaches when the fund is recovered. Elam v.

Monarch Life Ins. Co. 598 A.2d 1167 citing Barnes v. Alexander 232 U.S. 117,

121 (1914) [at the latest, the moment the fund was received the contract attached

to it as if made at that moment).

       C.      The Litigation Attorneys Would Suffer No Prejudice
               From the Sequestration of Funds


       Litigation Attorneys concede, as they must, that they have an ethical

obligation to sequester funds recovered from the judgment to ensure that the other

lawyers who labored on Plaintiffs’ behalf with an expectation that they would be




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paid from the funds are paid their fair share.

       The Litigation Attorneys have received approximately 40% of their one-

third share of the recovered funds from the QSF Trust and cannot claim hardship

if they are required to sequester $127.5 million from the $207.7 to $242.3 million

they are to receive pending the Arbitrator’s ruling by June 20, 2018. The

sequestered funds can be deposited in an interest bearing account so that any

theoretically possible prejudice is avoided.

       On the other hand, allowing the Litigation Attorneys to avoid

sequestering the portion of the QSF payable to Cook under his contract prior to

the Arbitrator’s award will result in irreparable harm to him. “[W]hen an existing

fund has been dedicated to satisfaction of competing claims, distribution of the

fund before the court’s determination is final          and no longer subject to

modification or reversal on appeal may constitute irreparable harm to the

appellant.” In re Wolf, 558 B.R. 140, 144 n.5 (E.D. Pa. 2016) See also Foltz v.

U.S. News & World Report, 760 F.2d 1300, 1308 (D.C. Cir. 1985) (irreparable

harm existed when vested interests in ERISA plan were at risk of dissipation); In

re Finova Group, Inc., No. 07-cv-480, 2007 WL 3238764, at *2 (D. Del. Oct. 31,

2007) (citing Rubin v. Pringle (In re Focus Media Inc.), 387 F.3d 1077, 1086 (9th

Cir. 2004)) (dissipation risk satisfies irreparable harm requirement); Bonell

Produce Co. v. Chloe Foods, Inc., No. 08-cv-4218, 2008 WL 4951942, at *4

(E.D.N.Y. 2008) (same).

       In Foltz the D.C. Circuit expressly held that where a plaintiff is to be paid

from a particular fund, the dissipation of the fund may cause irreparable injury:




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        The affording of such remedial relief would not run afoul of the
        well- settled principle of equity that monetary relief is not to be
        awarded in a money damages case prior to a determination of
        both liability and the extent of damages. See Sims v. Stuart,
        291 Fed. 707 (S.D.N.Y.1922). As this litigation presently
        stands, there has been, of course, no determination of liability
        . . . ; quite to the contrary, liability is vigorously contested
        by all defendants to this action. Notwithstanding that factor,
        an equitable remedy designed to freeze the status quo, as
        opposed to creating a pool of resources from which members of
        the plaintiff class could draw prior to a determination of liability
        and the extent, if any, of damages, would be entirely in
        keeping with the principles that undergird equity
        jurisprudence.760 F.2d at 1309.

        The harm is real. If the funds are disbursed there is a substantial

 collection issue; Cook loses the right to enforce the escrow clause of his contract;

 and   Litigation Attorneys would be allowed to not do the very thing they had

 assured the D.C. Court of Appeals they would do - sequester contested funds

 pending the adjudication of the Arbitration.

                                  CONCLUSION

         Based on the foregoing, Cook requests that the Court issue an order

 affirming Cook’s common law equitable lien over the Litigation Attorneys’ share

 of the QSF Trust and order the Litigation Attorneys to sequester the disputed

 funds, $127.5 million, they receive from the QSF Trustee to be held in an interest




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bearing escrow pending final resolution of the arbitration.

                                      Respectfully submitted,

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                        CERTIFICATE OF SERVICE


I HEREBY CERTIFY that the foregoing MEMORANDUM OF LAW IN
SUPPORT OF MOTION TO AFFIRM A COMMON LAW EQUITABLE
LEIN OVER ATTORNEYS’ 1/3 SHARE OF THE RECOVERY AND FOR
SEQUESTRATION OVER THE DISPUTED PORTION was filed electronically
via the Court’s ECF system on April 4, 2018 and were served electronically at the
time on all counsel of record, all of whom are registered to receiving filings via
the Court’s ECF system.

                                     By:    /s/ Eric D. Miller
                                              Eric D. Miller




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